       Case 1:18-cv-00387-WKW-SMD Document 1 Filed 04/04/18 Page 1 of 4




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                                                                       ALABAMA
                                                                        DIVISION
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—1-E-:_ uttojk D.\i‘bism,..)                    DEBRA P. HACKETT, CLK
                                                  U.S. DI TRICT COURT
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             Plaintiff(s),                              )           CIVIL ACTION NO.l •                  cv-           - 6)1(..0-sw
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                                                        )             l.JR/DEMAND(MARK ONE)
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             v.                                         )                   S          DNO
-)71-604,t            (   OVCiOn   MIAIVApOet erwi' )
                                   "Dciiw              )
                                                       )
             Defendant(s).

                                                     COMPLAINT

 1.          Plaintiff(s)' address and telephone number: -SOO                        fiOnS-littk .-OtOwilandieNct-3(43
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             Name and address of defendant(s):71,LC a
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 3.      Place of alleged violation ofcivil rights:Do--1--r..cc), .01\ a_74.,_(.0`3D 1
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 4.          Date of alleged violation of civil rights:       mIwo\ s-, b2.4)1‘ illy% hail
 5.          State the facts on which you base your allegation that your constitutional rights have been
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